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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7

                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Donna
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        J.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Barnes
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Donna Jo Barnes
                                   FKA Donna J. Fahrbach
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-5836
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Donna J. Barnes                                                                            Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 145 Deercliff Rd.
                                 Avon, CT 06001
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Hartford
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Donna J. Barnes                                                                               Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Donna J. Barnes                                                                                Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).               No.
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Donna J. Barnes                                                                            Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Donna J. Barnes                                                                               Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Donna J. Barnes
                                 Donna J. Barnes                                                   Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     March 14, 2019                                    Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Donna J. Barnes                                                                                Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Jon P. Newton                                                  Date         March 14, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Jon P. Newton
                                Printed name

                                Reid and Riege, P.C.
                                Firm name

                                One Financial Plaza
                                Hartford, CT 06103
                                Number, Street, City, State & ZIP Code

                                Contact phone     860.278.1150                               Email address         jnewton@rrlawpc.com
                                ct03376 CT
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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                                               Certificate Number: 00134-CT-CC-032441576


                                                              00134-CT-CC-032441576




                    CERTIFICATE OF COUNSELING

I CERTIFY that on March 14, 2019, at 11:20 o'clock AM EDT, Donna Jo Barnes
received from Cricket Debt Counseling, an agency approved pursuant to 11
U.S.C. § 111 to provide credit counseling in the District of Connecticut, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   March 14, 2019                         By:      /s/Sam Bringhurst


                                               Name: Sam Bringhurst


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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 Fill in this information to identify your case:

 Debtor 1                     Donna J. Barnes
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF CONNECTICUT

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                 Unsecured claim
 1                                                                   What is the nature of the claim?              landscaping                   $ $20,383.75
              Creating Landscaping
              Attn: Pres./Partner/Managing                           As of the date you file, the claim is: Check all that apply
              Agent                                                          Contingent
              PO Box 246                                                     Unliquidated
              Narragansett, RI 02882                                         Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              insurance                     $ $10,130.68
              Chubb Insurance
              Attn: Pres./Partner/Managing                           As of the date you file, the claim is: Check all that apply
              Agent                                                          Contingent
              PO Box 7247-0180                                               Unliquidated
              Philadelphia, PA 19170                                         Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $

B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            Page 1

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 Debtor 1          Donna J. Barnes                                                                  Case number (if known)




 3                                                                   What is the nature of the claim?              construction                   $ $9,522.00
            Kelly Burke Interiors
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            1040 New Britain Ave                                             Unliquidated
            West Hartford, CT 06110                                          Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              insurance                      $ $9,101.40
            Chubb Insurance
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 7247-0180                                                 Unliquidated
            Philadelphia, PA 19170                                           Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              credit card                    $ $6,384.15
            Bank of America
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 15019                                                     Unliquidated
            Wilmington, DL 19866                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              taxes 33 Bay St.,              $ $5,905.22
                                                                                                                   Westerly, RI
            Watch Hill Fire District
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            15 Spring St.                                                    Unliquidated
            Westerly, RI 02891                                               Disputed
                                                                             None of the above apply




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 2

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 Debtor 1          Donna J. Barnes                                                                  Case number (if known)

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              electric                       $ $5,827.39
            National Grid
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 960                                                       Unliquidated
            Northboro, Ma 01532                                              Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              credit card                    $ $4,773.32
            Capital One
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 71083                                                     Unliquidated
            Charlotte, NC 28727                                              Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              landscape                      $ $4,685.44
            Affordable Landscape
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 370434                                                    Unliquidated
            West Hartford, CT 06137                                          Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              window                         $ $4,500.00
            Corey Turner
            Attn: Pres./Partner/Managing
            Agent

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 3

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 Debtor 1          Donna J. Barnes                                                                  Case number (if known)

            109 Commerce Street                                      As of the date you file, the claim is: Check all that apply
            Glastonbury, CT 06033                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?              credit card                    $ $3,609.49
            PayPal Credit
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 71202                                                     Unliquidated
            Charlotte, NC 28727                                              Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?              Westerly RI ins on             $ $3,277.00
                                                                                                                   boat house
            American Bankers Insurance
            Company of Fl                                            As of the date you file, the claim is: Check all that apply
            Attn: Pres./Partner/Mng Agent                                    Contingent
            PO Box 731178                                                    Unliquidated
            DALLAS, TX 75373                                                 Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?              car insurance                  $ $3,084.36
            State Auto Insurance
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 182738                                                    Unliquidated
            Columbus, OH 43218                                               Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 4

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 Debtor 1          Donna J. Barnes                                                                  Case number (if known)

                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?              oil                            $ $2,864.61
            Quinocco Oil
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            1400 New Britain Ave                                             Unliquidated
            Farmington, CT 06032                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?              credit card                    $ $2,304.40
            Upromise
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 1337                                                      Unliquidated
            Philadelphia, PA 19010                                           Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?              credit card                    $ $2,071.56
            Bank of America
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 15019                                                     Unliquidated
            Wilmington, DL 19866                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?              pest control                   $ $2,012.00
            Mosquito Squad
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            2829 East Main Street                                            Unliquidated
            Portsmouth, RI 02871                                             Disputed
                                                                             None of the above apply



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 5

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 Debtor 1          Donna J. Barnes                                                                  Case number (if known)


                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?              electric                       $ $1,907.39
            Eversource
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 56002                                                     Unliquidated
            Boston, MA 02205                                                 Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?              cleaning                       $ $1,904.44
            Beautiful Cleaning Company
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 1162                                                      Unliquidated
            Hope Valley, RI 02832                                            Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?              credit card                    $ $1,783.11
            Nordstrom
            Attn: Pres./Partner/Managing                             As of the date you file, the claim is: Check all that apply
            Agent                                                            Contingent
            PO Box 79139                                                     Unliquidated
            Phoenix, AZ 85062                                                Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 6

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 Debtor 1          Donna J. Barnes                                                                  Case number (if known)


 X     /s/ Donna J. Barnes                                                              X
       Donna J. Barnes                                                                      Signature of Debtor 2
       Signature of Debtor 1


       Date      March 14, 2019                                                             Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 7

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                                                               United States Bankruptcy Court
                                                                     District of Connecticut
 In re      Donna J. Barnes                                                                       Case No.
                                                                                Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: March 14, 2019                                                /s/ Donna J. Barnes
                                                                     Donna J. Barnes
                                                                     Signature of Debtor




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                        Affordable Landscape
                        Attn: Pres./Partner/Managing Agent
                        PO Box 370434
                        West Hartford, CT 06137


                        American Bankers Insurance
                           Company of Fl
                        Attn: Pres./Partner/Mng Agent
                        PO Box 731178
                        DALLAS, TX 75373


                        American Bankers Insurance
                            Company of FL
                        Attn: Pres./Partner/Mng Agent
                        PO Box 731178
                        Dallas, TX 75373


                        Bank of America
                        Attn: Pres./Partner/Managing Agent
                        PO Box 15019
                        Wilmington, DL 19866


                        Beautiful Cleaning Company
                        Attn: Pres./Partner/Managing Agent
                        PO Box 1162
                        Hope Valley, RI 02832


                        Capital One
                        Attn: Pres./Partner/Managing Agent
                        PO Box 71083
                        Charlotte, NC 28727


                        Chubb Insurance
                        Attn: Pres./Partner/Managing Agent
                        PO Box 7247-0180
                        Philadelphia, PA 19170


                        Continental Security
                        Attn: Pres./Partner/Managing Agent
                        PO Box 482
                        Farmington, CT 06032


                        Corey Turner
                        Attn: Pres./Partner/Managing Agent
                        109 Commerce Street
                        Glastonbury, CT 06033
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                    Creating Landscaping
                    Attn: Pres./Partner/Managing Agent
                    PO Box 246
                    Narragansett, RI 02882


                    Dan Solaz
                    c/o Dan Burgoyne, Esq.
                    Ten Weybosset St., Ste 800
                    Providence, RI 02903


                    Deb Dacosta
                    Attn: Pres./Partner/Managing Agent
                    41 Deforest Ave
                    Bridgeport, CT 06607


                    Engineered Security
                    Attn: Pres./Partner/Managing Agent
                    2c Celestial Ave
                    Narragansett, RI 02882


                    Eversource
                    Attn: Pres./Partner/Managing Agent
                    PO Box 56002
                    Boston, MA 02205


                    French Cleaners
                    Attn: Pres./Partner/Managing Agent
                    935 Farmington Avon
                    West Hartford, CT 06107


                    JCrew
                    Attn: Pres./Partner/Managing Agent
                    PO Box 659704
                    San Antonio, TX 78265


                    Kelly Burke Interiors
                    Attn: Pres./Partner/Managing Agent
                    1040 New Britain Ave
                    West Hartford, CT 06110


                    Mark Brett
                    c/o Charles Miller, Esq.
                    PMB 108
                    1245 Farmington Ave.
                    West Hartford, CT 06107
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                    Mosquito Squad
                    Attn: Pres./Partner/Managing Agent
                    2829 East Main Street
                    Portsmouth, RI 02871


                    National Grid
                    Attn: Pres./Partner/Managing Agent
                    PO Box 960
                    Northboro, Ma 01532


                    Nordstrom
                    Attn: Pres./Partner/Managing Agent
                    PO Box 79139
                    Phoenix, AZ 85062


                    PayPal Credit
                    Attn: Pres./Partner/Managing Agent
                    PO Box 71202
                    Charlotte, NC 28727


                    Pool Doctor
                    Attn: Pres./Partner/Managing Agent
                    2200 Noose Neck Road
                    Coventry, RI 02816


                    Quinocco Oil
                    Attn: Pres./Partner/Managing Agent
                    1400 New Britain Ave
                    Farmington, CT 06032


                    Reinhart Food Service, LLC
                    c/o Peter Clarkin, Esq.
                    72 Pine St., 4th Fl.
                    Providence, RI 02903


                    RTM Capital Partners et al.
                    c/o Shechtman Halperin
                    Attn: Pres./Partner/Mng Agent
                    1080 Main St.
                    Pawtucket, RI 02860


                    Shem Creek Haystack, LLC
                    Attn: Pres./Partner/Managing Agent
                    16 Laurel Ave.
                    Wellesley, MA 02841
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                    Spicer Advanced Gas
                    Attn: Pres./Partner/Managing Agent
                    PO Box 903
                    Groton, CT 06340


                    State Auto Insurance
                    Attn: Pres./Partner/Managing Agent
                    PO Box 182738
                    Columbus, OH 43218


                    Supreme Forest Products
                    Attn: Pres./Partner/Managing Agent
                    49 Depaolo Drive
                    Southington, CT 06489


                    Town of Avon CT
                    Tax Collector
                    Attn: Pres./Partner/Managing Agent
                    60 W. Main St.
                    Avon, CT 06001


                    Town of Westerly RI
                    Tax Collector
                    Attn: Pres./Partner/Managing Agent
                    PO Box 9900
                    Westerly, RI 02891


                    Town of Westerly RI
                    Water Dept.
                    Attn: Pres./Partner/Managing Agent
                    PO BOX 9900
                    Westerly, RI 02891


                    UBS
                    Attn: Pres./Partner/Managing Agent
                    PO Box 77423
                    Ewing, NJ 08628


                    Upromise
                    Attn: Pres./Partner/Managing Agent
                    PO Box 1337
                    Philadelphia, PA 19010


                    Verizon Wireless
                    Attn: Pres./Partner/Managing Agent
                    PO Box 15062
                    Albany, NY 12212
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                    Watch Hill Fire District
                    Attn: Pres./Partner/Managing Agent
                    15 Spring St.
                    Westerly, RI 02891


                    Xfinity
                    Attn: Pres./Partner/Managing Agent
                    PO Box 70219
                    Philadelphia, PA 19176
